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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
NOVAFUND ADVISORS, LLC,
No. 3:18-cv-1023 (MPS)
Plaintiff,

V.

CAPITALA GROUP, LLC; CAPITALA
PRIVATE ADVISORS, LLC; CAPITALA
INVESTMENT ADVISORS, LLC; and
CAPITALA SPECIALTY LENDING
CORPORATION,

 

Defendants. September 30, 2021

AFFIDAVIT OF JAMES HOWE IN SUPPORT OF PLAINTIFF’S
OPPOSITION TO DEFENDANTS’ PARTIAL SUMMARY JUDGMENT MOTION

STATE OF CONNECTICUT )
) ss.:
COUNTY OF FAIRFIELD )

I, JAMES HOWE, being duly sworn, depose and say:

1. I am over the age of eighteen and believe in the obligations of an oath.

2. I am a member and Managing Director of Plaintiff NovaFund Advisors, LLC
(“NovaFund”). I have made this affidavit based on personal knowledge and my personal review
of the records of NovaFund. I am submitting this affidavit in support of NovaFund’s Opposition
to Defendants’ Motion for Summary Judgment. If called upon, I could and would competently
testify to the matters stated herein.

a On or about May 9, 2016, I signed a Term Sheet between NovaFund and Capitala
in which NovaFund was engaged as the only placement agent to raise capital for Fund V and
separately managed accounts. NovaFund intended to sign a more fulsome agreement, known as

an engagement letter, with Capitala. In my experience, an engagement letter normally comes at
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the direction of the fund manager. In 2016, I recall NovaFund regularly asking Mr. Alala about
executing an engagement letter, but Mr. Alala pushing us off.

4. Fund investments depend on the corporate form that is used for the fund, but a
private capital fund is typically set up as a limited partnership and the investors become limited
partners in the fund. The limited partnership usually obligates a limited partner to make an
investment of a specific dollar amount, which then enables a fund manager to call capital as the
manager is ready to invest the investors’ pooled capital. For example, a fund may have five
limited partners each of which commits to making a $20 million investment, which will provide
the fund with $100 million in pooled capital. Subsequently, the fund manager may identify an
investment it wants to make on behalf of the fund; for a private debt fund, it could be a $15
million loan to a company. The fund manager would then call $3 million in capital from each
investor and under the terms of the limited partnership agreement each limited partner is
obligated to transfer that amount to the fund. Unlike a fund, investors to an SMA are bound to
provide capital when they commit to the investment that is the subject of the SMA. SMAs,
though different than private funds, still involve “committed” capital, albeit with different
timing. By design, an SMA is a customized approach to investing. A “commitment” occurs
later in the process, once a loan has been made and the SMAsare obligated to fund them.

=. NovaFund had never had a hard time winning business until after it started
working with Capitala. Through discovery, I have learned about numerous communications
Capitala has had with investors and members of the investing community in which Capitala
disparages NovaFund. Hamilton Lane did not do any business with NovaFund after 2018, even
though we had worked with them before Capitala. I also had a relationship with Ares

Management that began while I was employed by UBS in or around 2005. I have seen one
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email in which Mr. Alala tells Ares Management that NovaFund is a “horrible and fraudulent
placement agent.” Based on that communication, I would not expect Ares Management to want

to do any business and they have not done any business with NovaFund after 2018.

[remainder of page intentionally left blank]
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James Howe

Subscribed and sworn before me

this WY day OF eae 2021
Blaada bodes

Commissioner of Superior Court or
Notary Public

My commission expires: 20- 04-46 a Z

NECK, BLANCHE PARKER

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Es ‘a

My Commission Expires
April 30, 2022

 

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